                                                                                                                                                                        Case: 4:20-cv-01227-JAR Doc. #: 111-1 Filed: 08/01/22 Page: 1 of 3 PageID #: 3894

                                                                                                                                                                                                      Jana School (CWC-386)



                                                                                                             Ac_227G                      Pa_231G                      Ra_226G                            Ra_228G                          Th_228G                           Th_230G                      Th_232G                       U_235G                        U_238G
Station_ID   Sample_ID     Easting    Northing    Elevation     Date      Start_DepthEnd_Depth                                                                                                                                                                                                                                                                                         SORN
                                                                                                 Result   Error   MDC    VQ   Result   Error   MDC    VQ   Result   Error   MDC       VQ     Result    Error   MDC      VQ     Result   Error    MDC        VQ   Result   Error   MDC    VQ   Result   Error   MDC    VQ   Result   Error    MDC    VQ   Result   Error    MDC    VQ
SVP190125     SVP190125    871947.8   1085077.7    490.1       8/6/2018       0.0      0.5       -0.45     0.11   0.15   UJ    0.61     0.51   0.88   UJ    1.19     0.31   0.05       =      0.75      0.09   0.05      =      1.32     0.50    0.20        =    1.82     0.61   0.15    J    1.01     0.43   0.26    =    0.12     0.18    0.30   UJ    1.06     0.29    0.30    =   0.07
SVP190125     SVP190126    871947.8   1085077.7    490.1       8/6/2018       1.5      2.0       -0.87     0.17   0.14   UJ   -0.09     0.51   0.86   UJ    1.20     0.31   0.05       =      0.77      0.09   0.05      =      1.10     0.41    0.15        =    1.77     0.55   0.17    =    1.11     0.41   0.21    =    0.02     0.18    0.30   UJ    0.91     0.17    0.31    =   0.00
SVP190125     SVP190127    871947.8   1085077.7    490.1       8/6/2018       3.5      4.0       -0.47     0.11   0.14   UJ   -0.04     0.51   0.86   UJ    1.19     0.30   0.06       =      0.82      0.11   0.05      =      0.78     0.36    0.26        =    1.30     0.49   0.23    J    0.89     0.39   0.23    =    0.13     0.18    0.30   UJ    0.85     0.17    0.33    =   0.00
SVP190125     SVP190128    871947.8   1085077.7    490.1       8/6/2018       5.5      6.0       -1.47     0.27   0.14   UJ   -0.07     0.51   0.86   UJ    1.17     0.30   0.06       =      0.80      0.11   0.05      =      0.95     0.38    0.18        =    1.71     0.55   0.16    =    0.99     0.39   0.14    =    0.09     0.18    0.30   UJ    1.07     0.19    0.33    =   0.00
SVP190129     SVP190129    872069.6   1085085.9    495.6      9/18/2018       0.0      0.5       -1.17     0.24   0.15   UJ    0.05     0.57   0.97   UJ    1.31     0.33   0.07       =      0.91      0.12   0.06      =      0.98     0.39    0.16        =    1.11     0.43   0.14    J    1.17     0.44   0.12    =    0.05     0.18    0.31   UJ    1.21     0.21    0.34    =   0.07
SVP190129     SVP190130    872069.6   1085085.9    495.6      9/18/2018       1.0      1.5       -0.93     0.20   0.15   UJ    0.38     0.60   1.04   UJ    1.33     0.34   0.07       =      0.90      0.12   0.07      =      0.96     0.42    0.18        =    1.67     0.59   0.16    J    1.15     0.47   0.27    =    0.12     0.19    0.32   UJ    1.05     0.19    0.32    =   0.01
SVP190129     SVP190131    872069.6   1085085.9    495.6      9/18/2018       2.0      2.5       -0.90     0.20   0.17   UJ   -0.21     0.66   1.09   UJ    1.44     0.37   0.07       =      0.99      0.12   0.07      =      0.68     0.31    0.17        =    1.62     0.53   0.22    J    0.87     0.36   0.22    =    0.21     0.20    0.35   UJ    1.17     0.20    0.35    =   0.02
SVP190129     SVP190132    872069.6   1085085.9    495.6      9/18/2018       5.5      6.0       -0.87     0.20   0.17   UJ   -0.47     0.67   1.09   UJ    1.35     0.35   0.08       =      0.92      0.12   0.07      =      0.89     0.36    0.20        =    1.53     0.49   0.13    J    0.68     0.30   0.11    =   -0.05     0.20    0.33   UJ    1.06     0.19    0.37    =   0.01
SVP190143     SVP190143    871672.3   1085164.4    492.3       8/6/2018       0.0      0.5       -1.00     0.20   0.19   UJ    0.63     0.61   1.07   UJ    1.29     0.33   0.07       =      0.87      0.12   0.07      =      1.91     0.66    0.23        =    2.31     0.74   0.15    =    0.79     0.39   0.28    =    0.28     0.22    0.37   UJ    1.21     0.25    0.46    =   0.13
SVP190143     SVP190144    871672.3   1085164.4    492.3       8/6/2018       0.5      1.0       -1.41     0.27   0.20   UJ    0.03     0.66   1.12   UJ    1.34     0.35   0.07       =      0.85      0.11   0.07      =      1.85     0.58    0.18        =    1.59     0.53   0.16    J    1.41     0.49   0.12    =   -0.05     0.23    0.37   UJ    1.18     0.24    0.48    =   0.01
SVP190145     SVP190145    871779.4   1085175.2    486.6       8/6/2018       0.0      0.5       -1.00     0.20   0.19   UJ   -0.23     0.65   1.07   UJ    1.36     0.35   0.07       =      0.84      0.11   0.07      =      1.20     0.42    0.16        =    1.49     0.48   0.12    J    0.74     0.32   0.20    =   -0.05     0.22    0.37   UJ    1.45     0.29    0.48    =   0.09
SVP190145     SVP190146    871779.4   1085175.2    486.6       8/6/2018       1.0      1.5       -1.04     0.21   0.19   UJ    0.32     0.64   1.09   UJ    1.36     0.35   0.07       =      0.90      0.11   0.07      =      1.24     0.45    0.15        =    1.70     0.55   0.16    J    0.85     0.36   0.16    =    0.02     0.22    0.37   UJ    1.45     0.29    0.48    =   0.02
SVP190147     SVP190147    871892.0   1085177.5    492.1       6/3/2019       0.0      0.5       -1.20     0.32   0.30   UJ    0.57     1.16   2.03   UJ    1.30     0.36   0.14       =      0.77      0.12   0.13      =      1.34     0.53    0.23        =    1.88     0.66   0.21    =    1.07     0.46   0.19    =    0.08     0.36    0.62   UJ    0.94     0.34    0.56    =   0.10
SVP190147     SVP190148    871892.0   1085177.5    492.1       6/3/2019       1.0      1.5       -1.25     0.34   0.29   UJ   -0.26     1.14   1.92   UJ    1.35     0.37   0.13       =      0.86      0.13   0.12      =      0.93     0.37    0.19        =    1.16     0.42   0.26    =    0.80     0.33   0.14    =   -0.20     0.34    0.56   UJ    0.89     0.33    0.53    =   0.01
SVP190147     SVP211095    871892.0   1085177.5    492.1       6/3/2019       3.0      3.5       -1.31     0.34   0.29   UJ   -0.17     1.12   1.89   UJ    1.44     0.39   0.14       =      0.93      0.14   0.13      =      1.57     0.53    0.19        =    1.92     0.60   0.16    =    1.08     0.42   0.14    =   -0.02     0.35    0.59   UJ    1.08     0.34    0.54    =   0.03
SVP190147     SVP211096    871892.0   1085177.5    492.1       6/3/2019       4.0      4.5       -1.19     0.32   0.27   UJ    1.44     1.10   1.99   UJ    1.52     0.41   0.12       =      0.88      0.13   0.12      =      1.13     0.42    0.15        =    1.59     0.52   0.13    =    1.22     0.44   0.14    =    0.23     0.34    0.59   UJ    0.65     0.30    0.57    =   0.02
SVP190147     SVP211097    871892.0   1085177.5    492.1       6/3/2019       5.0      5.5       -1.20     0.32   0.28   UJ    0.86     1.14   2.02   UJ    1.53     0.42   0.14       =      0.86      0.13   0.12      =      1.15     0.43    0.21        =    1.35     0.47   0.13    =    1.17     0.43   0.12    =   -0.02     0.34    0.58   UJ    1.08     0.35    0.57    =   0.03
SVP190149     SVP190149    872008.8   1085177.9    496.2       8/6/2018       0.0      0.5       -0.35     0.10   0.20   UJ    0.05     0.66   1.12   UJ    1.25     0.33   0.07       =      0.77      0.10   0.07      =      1.19     0.43    0.16        =    1.72     0.55   0.11    =    1.14     0.42   0.22    =    0.24     0.22    0.38   UJ    0.88     0.38    0.45    =   0.08
SVP190149     SVP190150    872008.8   1085177.9    496.2       8/6/2018       1.5      2.0       -0.99     0.20   0.19   UJ    0.02     0.65   1.10   UJ    1.23     0.32   0.07       =      0.84      0.11   0.07      =      1.10     0.41    0.13        =    1.25     0.44   0.14    J    1.07     0.40   0.13    =   -0.20     0.23    0.37   UJ    1.23     0.26    0.47    =   0.01
SVP190149     SVP190151    872008.8   1085177.9    496.2       8/6/2018       2.5      3.0       -1.44     0.27   0.20   UJ   -0.18     0.64   1.06   UJ    1.34     0.34   0.07       =      0.92      0.12   0.07      =      0.80     0.33    0.16        =    1.41     0.46   0.15    J    1.16     0.41   0.13    =   -0.15     0.22    0.35   UJ    1.28     0.25    0.53    =   0.01
SVP190149     SVP190152    872008.8   1085177.9    496.2       8/6/2018       4.0      4.5       -1.16     0.22   0.19   UJ   -0.18     0.64   1.07   UJ    1.40     0.35   0.06       =      0.98      0.12   0.07      =      1.34     0.42    0.15        =    1.44     0.43   0.13    J    1.03     0.35   0.09    =    0.14     0.22    0.37   UJ    1.28     0.25    0.47    =   0.02
SVP190153     SVP190153    872127.8   1085179.4    494.7       8/6/2018       0.0      0.5       -1.19     0.23   0.15   UJ   -0.49     0.54   0.87   UJ    1.23     0.31   0.05       =      0.79      0.10   0.06      =      1.32     0.47    0.24        =    1.44     0.49   0.16    J    1.13     0.42   0.14    =   -0.06     0.18    0.30   UJ    1.06     0.19    0.30    =   0.06
SVP190153    SVP190153-1   872127.8   1085179.4    494.7       8/6/2018       0.0      0.5       -1.24     0.23   0.15   UJ   -0.26     0.52   0.85   UJ    1.30     0.33   0.06       =      0.86      0.10   0.05      =      1.58     0.49    0.18        =    1.49     0.47   0.10    J    0.72     0.30   0.19    =   -0.04     0.19    0.31   UJ    1.20     0.21    0.34    =   0.07
SVP190153    SVP190153-2   872127.8   1085179.4    494.7       8/6/2018       0.0      0.5       -0.46     1.23   1.59   UJ   -1.42     5.36   9.00   UJ    1.17     0.28   0.20       =      1.14      0.39   0.27      =      0.64     0.17    0.10        =    2.21     0.35   0.13    =    0.88     0.19   0.07    =    0.22     0.58    1.12   UJ    1.32     1.11    1.84   UJ   0.10
SVP190153     SVP190154    872127.8   1085179.4    494.7       8/6/2018       1.5      2.0        0.07     0.04   0.11   UJ    0.35     0.53   0.91   UJ    1.34     0.33   0.06       =      0.86      0.10   0.05      =      1.25     0.46    0.21        =    1.54     0.53   0.21    J    0.65     0.31   0.18    =    0.13     0.19    0.32   UJ    1.15     0.20    0.34    =   0.01
SVP190153     SVP190155    872127.8   1085179.4    494.7       8/6/2018       2.0      2.5       -0.64     0.14   0.14   UJ   -0.07     0.52   0.86   UJ    1.21     0.31   0.06       =      0.80      0.10   0.06      =      2.25     0.70    0.17        =    1.80     0.61   0.19    J    1.45     0.53   0.17    =    0.08     0.18    0.31   UJ    1.01     0.18    0.33    =   0.00
SVP190153     SVP190156    872127.8   1085179.4    494.7       8/6/2018       5.0      5.5       -0.51     0.12   0.16   UJ   -0.23     0.56   0.93   UJ    1.62     0.40   0.06       =      1.06      0.12   0.06      =      1.43     0.50    0.18        =    1.65     0.54   0.18    J    1.50     0.51   0.12    =   -0.20     0.20    0.32   UJ    1.07     0.21    0.34    =   0.03
SVP190159     SVP190159    871367.1   1085285.3    491.6      10/9/2018       0.0      0.5       -0.84     0.17   0.12   UJ   -0.24     0.46   0.76   UJ    1.31     0.33   0.05       =      0.72      0.09   0.05      =      1.22     0.48    0.20        =    0.98     0.42   0.14    =    0.68     0.34   0.17    J    0.07     0.16    0.27   UJ    0.89     0.16    0.29    =   0.07
SVP190159    SVP190159-1   871367.1   1085285.3    491.6      10/9/2018       0.0      0.5       -0.57     0.13   0.12   UJ    0.12     0.47   0.80   UJ    1.33     0.33   0.05       =      0.69      0.08   0.05      =      0.94     0.38    0.20        =    1.37     0.48   0.15    =    0.83     0.35   0.13    =    0.12     0.15    0.26   UJ    0.93     0.16    0.28    =   0.08
SVP190159    SVP190159-2   871367.1   1085285.3    491.6      10/9/2018       0.0      0.5       -0.69     1.29   1.66   UJ    0.00     0.54   8.42   UJ    1.45     0.37   0.27       =      1.24      0.58   0.55      =      0.67     0.17    0.11        =    0.87     0.20   0.12    =    0.71     0.17   0.07    =   -0.10     0.31    1.75   UJ    1.53     1.13    1.56   UJ   0.11
SVP190159     SVP190160    871367.1   1085285.3    491.6      10/9/2018       1.0      1.5       -1.23     0.23   0.12   UJ   -0.28     0.49   0.80   UJ    1.37     0.34   0.06       =      0.77      0.09   0.05      =      1.11     0.44    0.17        =    1.38     0.50   0.17    =    1.28     0.48   0.16    =    0.07     0.16    0.27   UJ    0.95     0.16    0.29    =   0.01
SVP190159     SVP206986    871367.1   1085285.3    491.6      10/9/2018       2.5      3.0       -0.70     0.14   0.12   UJ   -0.03     0.49   0.82   UJ    1.45     0.36   0.05       =      0.77      0.09   0.05      =      0.97     0.37    0.13        =    1.17     0.42   0.11    =    0.69     0.30   0.13    =   -0.05     0.16    0.26   UJ    1.04     0.17    0.29    =   0.02
SVP190161     SVP190161    871717.8   1085278.8    495.1       6/3/2019       0.0      0.5       -1.93     0.44   0.31   UJ    0.35     1.02   1.76   UJ    1.11     0.31   0.11       =      0.88      0.13   0.11      =      1.20     0.47    0.19        =    1.59     0.56   0.15    =    0.83     0.37   0.14    =   -0.01     0.32    0.54   UJ    1.24     0.26    0.52    =   0.04
SVP190161     SVP190162    871717.8   1085278.8    495.1       6/3/2019       1.0      1.5       -1.81     0.40   0.31   UJ    0.15     1.02   1.75   UJ    1.23     0.34   0.11       =      0.73      0.12   0.11      =      1.00     0.41    0.25        =    1.57     0.54   0.25    =    0.90     0.38   0.13    =    0.02     0.31    0.53   UJ    0.82     0.22    0.51    =   0.01
SVP190161     SVP211090    871717.8   1085278.8    495.1       6/3/2019       3.0      3.5       -1.41     0.32   0.31   UJ    0.69     1.03   1.79   UJ    1.25     0.34   0.11       =      0.83      0.12   0.10      =      1.64     0.60    0.15        =    1.75     0.63   0.20    =    1.12     0.47   0.19    =    0.21     0.32    0.55   UJ    0.95     0.23    0.52    =   0.01
SVP190161     SVP211091    871717.8   1085278.8    495.1       6/3/2019       5.0      5.5       -2.06     0.43   0.30   UJ   -0.26     0.93   1.56   UJ    1.33     0.36   0.12       =      0.98      0.13   0.11      =      0.75     0.34    0.18        =    1.62     0.54   0.15    =    1.14     0.43   0.17    =    0.09     0.31    0.53   UJ    1.24     0.27    0.52    =   0.01
SVP190163     SVP190163    871834.2   1085278.7    491.4       6/3/2019       0.0      0.5       -1.26     0.33   0.27   UJ    0.35     1.06   1.86   UJ    1.30     0.36   0.14       =      0.84      0.13   0.13      =      0.79     0.34    0.22        =    1.38     0.47   0.22    =    1.14     0.42   0.22    =    0.33     0.35    0.62   UJ   -0.28     0.21    1.14   UJ   0.07
SVP190163     SVP190164    871834.2   1085278.7    491.4       6/3/2019       1.5      2.0       -1.26     0.33   0.29   UJ   -1.29     1.11   1.74   UJ    1.52     0.41   0.12       =      0.96      0.14   0.12      =      1.12     0.42    0.22        =    1.37     0.47   0.17    =    1.56     0.51   0.12    =   -0.05     0.34    0.57   UJ    0.71     0.30    0.52    =   0.02
SVP190163     SVP190165    871834.2   1085278.7    491.4       6/3/2019       3.5      4.0       -1.32     0.34   0.26   UJ   -0.96     1.13   1.82   UJ    1.29     0.35   0.13       =      0.86      0.13   0.11      =      1.29     0.44    0.16        =    1.55     0.49   0.13    =    0.91     0.35   0.12    =   -0.08     0.34    0.56   UJ    0.87     0.33    0.55    =   0.01
SVP190163     SVP190166    871834.2   1085278.7    491.4       6/3/2019       4.0      4.5       -2.15     0.52   0.29   UJ   -0.44     1.18   1.98   UJ    1.29     0.36   0.14       =      0.97      0.15   0.13      =      1.45     0.48    0.16        =    1.39     0.47   0.14    =    1.22     0.43   0.11    =    0.32     0.36    0.63   UJ    1.70     0.70    1.18   UJ   0.02
SVP190167     SVP190167    871950.2   1085278.9    492.3       6/3/2019       0.0      0.5       -1.68     0.40   0.32   UJ    0.16     1.03   1.78   UJ    1.22     0.34   0.12       =      0.80      0.12   0.12      =      1.18     0.44    0.14        =    1.41     0.50   0.24    =    1.05     0.41   0.13    =    0.12     0.33    0.56   UJ    0.86     0.22    0.53    =   0.05
SVP190167     SVP190168    871950.2   1085278.9    492.3       6/3/2019       1.0      1.5       -1.36     0.30   0.29   UJ   -0.76     0.97   1.57   UJ    1.34     0.36   0.10       =      0.96      0.13   0.10      =      1.60     0.57    0.14        =    1.96     0.65   0.17    =    1.52     0.56   0.27    =    0.14     0.30    0.51   UJ    1.21     0.25    0.48    =   0.02
SVP190167     SVP211098    871950.2   1085278.9    492.3       6/3/2019       2.5      3.0       -1.44     0.32   0.31   UJ   -0.13     1.00   1.69   UJ    1.54     0.41   0.11       =      0.95      0.14   0.10      =      1.34     0.47    0.13        =    1.46     0.50   0.13    =    1.03     0.40   0.22    =    0.19     0.32    0.55   UJ    0.95     0.22    0.51    =   0.03
SVP190167     SVP211099    871950.2   1085278.9    492.3       6/3/2019       4.5      5.0       -2.35     0.48   0.30   UJ    0.21     1.00   1.71   UJ    1.74     0.46   0.10       =      1.00      0.14   0.11      =      1.31     0.49    0.17        =    2.06     0.66   0.16    =    1.05     0.43   0.25    =   -0.04     0.33    0.55   UJ    1.18     0.26    0.52    =   0.05
SVP190169     SVP190169    872066.2   1085278.7    493.3       6/4/2019       0.0      0.5       -0.99     0.26   0.32   UJ   -0.32     1.13   1.90   UJ    1.29     0.35   0.12       =      0.85      0.12   0.12      =      1.40     0.51    0.25        =    2.18     0.68   0.25    =    0.88     0.38   0.13    =    0.29     0.34    0.59   UJ    1.03     0.26    0.65    =   0.12
SVP190169     SVP190170    872066.2   1085278.7    493.3       6/4/2019       0.5      1.0       -0.95     0.25   0.34   UJ    0.03     1.09   1.86   UJ    1.28     0.35   0.12       =      0.84      0.13   0.12      =      0.92     0.41    0.16        =    1.93     0.66   0.27    =    0.82     0.38   0.15    =    0.05     0.35    0.59   UJ    0.85     0.25    0.66    =   0.02
SVP190169     SVP211104    872066.2   1085278.7    493.3       6/4/2019       2.0      2.5       -1.34     0.32   0.34   UJ   -0.82     1.25   2.05   UJ    1.56     0.41   0.13       =      0.91      0.13   0.14      =      1.40     0.48    0.13        =    1.84     0.58   0.21    =    0.72     0.32   0.11    =    0.15     0.36    0.62   UJ    1.14     0.30    0.66    =   0.03
SVP190169     SVP211105    872066.2   1085278.7    493.3       6/4/2019       4.0      4.5       -1.24     0.29   0.35   UJ   -0.43     1.11   1.84   UJ    2.04     0.52   0.12       =      1.04      0.14   0.12      =      1.71     0.61    0.17        =    2.82     0.85   0.17    =    1.11     0.47   0.28    =   -0.02     0.35    0.58   UJ    0.79     0.24    0.65    =   0.13
SVP190169     SVP211106    872066.2   1085278.7    493.3       6/4/2019       4.5      5.0       -1.25     0.29   0.35   UJ   -0.21     1.17   1.96   UJ    2.05     0.53   0.13       =      1.04      0.14   0.14      =      1.07     0.43    0.17        =    2.64     0.77   0.16    =    0.81     0.37   0.25    =   -0.02     0.37    0.62   UJ    1.12     0.30    0.65    =   0.11
SVP190171     SVP190171    872182.3   1085278.6    496.9       6/4/2019       0.0      0.5       -1.41     0.36   0.29   UJ    0.21     1.15   1.99   UJ    1.18     0.33   0.14       =      0.75      0.13   0.12      =      1.23     0.51    0.31        =    2.22     0.74   0.18    J    0.99     0.44   0.16    J    0.14     0.34    0.59   UJ    0.90     0.42    0.61    =   0.10
SVP190171     SVP190172    872182.3   1085278.6    496.9       6/4/2019       1.0      1.5       -1.76     0.42   0.28   UJ   -0.87     1.15   1.86   UJ    1.29     0.36   0.14       =      0.72      0.13   0.13      =      0.84     0.36    0.23        =    1.60     0.53   0.12    J    1.22     0.45   0.12    J    0.20     0.35    0.60   UJ    1.06     0.40    0.54    =   0.01
SVP190171     SVP211107    872182.3   1085278.6    496.9       6/4/2019       3.5      4.0       -1.12     0.31   0.29   UJ    0.26     1.24   2.14   UJ    1.20     0.34   0.13       =      0.84      0.15   0.13      =      1.32     0.47    0.20        =    1.86     0.59   0.18    J    1.24     0.45   0.18    J    0.05     0.35    0.60   UJ    1.15     0.34    0.53    =   0.01
SVP190171     SVP211108    872182.3   1085278.6    496.9       6/4/2019       4.0      4.5       -1.11     0.31   0.27   UJ    0.28     1.15   2.00   UJ    1.24     0.35   0.14       =      0.74      0.12   0.13      =      0.85     0.34    0.12        =    0.95     0.36   0.16    J    0.62     0.28   0.14    J    0.19     0.34    0.60   UJ    0.70     0.32    0.59    =   0.01
SVP190171     SVP211109    872182.3   1085278.6    496.9       6/4/2019       6.5      7.0       -1.28     0.34   0.29   UJ   -0.54     1.21   1.99   UJ    1.52     0.41   0.13       =      0.88      0.14   0.13      =      1.00     0.38    0.19        =    1.04     0.38   0.14    J    1.02     0.38   0.20    J    0.01     0.35    0.60   UJ    0.82     0.32    0.55    =   0.02
SVP190171     SVP211110    872182.3   1085278.6    496.9       6/4/2019       8.0      8.5       -1.17     0.30   0.28   UJ   -0.69     1.08   1.76   UJ    1.20     0.34   0.14       =      1.02      0.15   0.12      =      1.24     0.45    0.21        =    1.65     0.53   0.17    J    1.29     0.46   0.14    J   -0.23     0.35    0.58   UJ    0.92     0.34    0.57    =   0.00
SVP190177     SVP190177    871776.2   1085379.9    496.6       6/3/2019       0.0      0.5       -1.34     0.34   0.27   UJ    0.18     1.20   2.06   UJ    1.49     0.41   0.15       =      0.95      0.14   0.13      =      1.21     0.49    0.24        =    1.51     0.56   0.24    =    1.15     0.47   0.19    =   -0.19     0.36    0.59   UJ    1.16     0.35    0.59    =   0.11
SVP190177     SVP190178    871776.2   1085379.9    496.6       6/3/2019       1.0      1.5       -1.22     0.32   0.30   UJ   -0.94     1.21   1.95   UJ    1.40     0.39   0.14       =      0.93      0.14   0.12      =      0.92     0.38    0.20        =    1.81     0.58   0.16    =    1.21     0.45   0.15    =    0.09     0.37    0.63   UJ    1.03     0.36    0.60    =   0.02
SVP190177     SVP211092    871776.2   1085379.9    496.6       6/3/2019       2.5      3.0       -1.81     0.44   0.30   UJ   -0.21     1.06   1.79   UJ    1.41     0.39   0.13       =      0.93      0.14   0.12      =      1.10     0.41    0.17        =    1.16     0.43   0.18    =    0.86     0.36   0.15    =    0.14     0.35    0.60   UJ    1.02     0.34    0.56    =   0.02
SVP190179     SVP190179    871891.8   1085379.7    492.2       6/3/2019       0.0      0.5       -1.98     0.42   0.29   UJ   -0.86     0.97   1.55   UJ    1.26     0.34   0.10       =      0.90      0.12   0.10      =      0.89     0.39    0.24        =    1.71     0.57   0.13    =    1.15     0.44   0.15    =    0.28     0.31    0.52   UJ    1.02     0.23    0.47    =   0.08
SVP190179     SVP190180    871891.8   1085379.7    492.2       6/3/2019       0.5      1.0       -2.01     0.44   0.33   UJ   -0.32     1.03   1.73   UJ    1.38     0.37   0.12       =      1.02      0.14   0.10      =      1.30     0.46    0.15        =    1.31     0.46   0.12    =    1.06     0.41   0.22    =    0.38     0.35    0.60   UJ    1.12     0.25    0.51    =   0.02
SVP190179     SVP211093    871891.8   1085379.7    492.2       6/3/2019       3.0      3.5       -1.80     0.37   0.29   UJ   -0.54     1.01   1.66   UJ    1.64     0.43   0.11       =      0.97      0.13   0.11      =      1.13     0.44    0.16        =    1.90     0.62   0.17    =    0.76     0.35   0.16    =    0.25     0.31    0.53   UJ    1.25     0.27    0.53    =   0.04
SVP190179     SVP211094    871891.8   1085379.7    492.2       6/3/2019       4.0      4.5       -1.53     0.34   0.29   UJ    0.32     0.97   1.67   UJ    1.19     0.32   0.11       =      0.92      0.13   0.11      =      1.39     0.51    0.15        =    1.70     0.58   0.25    =    1.22     0.47   0.13    =    0.12     0.31    0.53   UJ    1.21     0.26    0.52    =   0.00
SVP190179     SVP211100    871891.8   1085379.7    492.2       6/3/2019       5.0      5.5       -2.01     0.41   0.29   UJ    0.44     0.97   1.67   UJ    1.42     0.38   0.10       =      0.91      0.13   0.10      =      1.35     0.46    0.13        =    1.38     0.47   0.15    =    1.41     0.48   0.21    =    0.14     0.30    0.51   UJ    0.96     0.22    0.48    =   0.02
SVP190181     SVP190181    872007.9   1085380.0    494.0       6/4/2019       0.0      0.5       -2.05     0.47   0.27   UJ    0.38     1.13   1.95   UJ    1.23     0.34   0.13       =      0.86      0.13   0.13      =      1.23     0.45    0.24        =    1.27     0.46   0.19    =    0.95     0.39   0.23    =    0.15     0.34    0.58   UJ    1.02     0.33    0.54    =   0.06
SVP190181     SVP190182    872007.9   1085380.0    494.0       6/4/2019       1.0      1.5       -1.04     0.25   0.33   UJ   -0.45     1.06   1.76   UJ    1.50     0.40   0.13       =      0.89      0.13   0.12      =      1.04     0.41    0.12        =    1.95     0.62   0.15    =    0.98     0.40   0.23    =    0.32     0.35    0.59   UJ    1.32     0.29    0.62    =   0.03
SVP190181     SVP211101    872007.9   1085380.0    494.0       6/4/2019       3.5      4.0       -1.28     0.33   0.30   UJ   -0.14     1.19   2.02   UJ    1.51     0.41   0.15       =      0.99      0.17   0.13      =      1.10     0.42    0.22        =    1.74     0.56   0.18    J    1.28     0.46   0.12    J    0.08     0.34    0.59   UJ    0.96     0.35    0.56    =   0.02
SVP190181     SVP211102    872007.9   1085380.0    494.0       6/4/2019       4.5      5.0       -1.27     0.32   0.28   UJ    0.18     1.13   1.94   UJ    1.53     0.41   0.14       =      0.95      0.14   0.13      =      0.78     0.31    0.19        =    1.50     0.46   0.16    J    0.75     0.30   0.11    J    0.22     0.34    0.58   UJ    0.60     0.31    0.55    J   0.03
SVP190181     SVP211103    872007.9   1085380.0    494.0       6/4/2019       5.0      5.5       -1.32     0.32   0.26   UJ    0.52     1.08   1.87   UJ    1.85     0.48   0.13       =      0.94      0.15   0.13      =      1.12     0.40    0.18        =    0.94     0.36   0.17    J    0.98     0.37   0.11    J   -0.03     0.34    0.57   UJ    1.18     0.34    0.54    =   0.05
SVP190183     SVP190183    872124.3   1085379.7    497.2       6/4/2019       0.0      0.5       -0.66     0.14   0.18   UJ    0.23     0.54   0.94   UJ    1.28     0.33   0.06       =      0.71      0.09   0.06      =      0.89     0.42    0.29        =    1.90     0.66   0.17    =    1.04     0.45   0.17    =    0.22     0.19    0.33   UJ    1.04     0.19    0.35    =   0.10
SVP190183    SVP190183-1   872124.3   1085379.7    497.2       6/4/2019       0.0      0.5       -0.85     0.18   0.19   UJ   -0.73     0.63   0.99   UJ    1.36     0.34   0.06       =      0.72      0.09   0.06      =      1.03     0.42    0.16        =    1.84     0.61   0.13    =    0.80     0.37   0.25    =    0.17     0.20    0.34   UJ    0.88     0.18    0.36    =   0.11
SVP190183    SVP190183-2   872124.3   1085379.7    497.2       6/4/2019       0.0      0.5        0.09     0.30   1.39   UJ    1.13     3.55   6.02   UJ    1.19     0.32   0.23       =      1.14      0.36   0.53      =      0.57     0.15    0.10        =    0.78     0.19   0.11    =    0.48     0.13   0.06    =    0.35     0.31    0.43   UJ    0.54     0.83    1.37   UJ   0.05
SVP190183     SVP190184    872124.3   1085379.7    497.2       6/4/2019       1.0      1.5       -1.04     0.26   0.36   UJ   -0.67     1.18   1.94   UJ    1.35     0.37   0.12       =      0.81      0.12   0.13      =      1.64     0.57    0.14        =    1.91     0.63   0.18    =    0.66     0.33   0.17    J    0.23     0.38    0.65   UJ    0.82     0.26    0.67    =   0.02
SVP190183     SVP190185    872124.3   1085379.7    497.2       6/4/2019       3.5      4.0       -0.96     0.25   0.35   UJ   -1.16     1.16   1.85   UJ    1.42     0.38   0.12       =      0.90      0.12   0.13      =      0.71     0.35    0.20        =    1.98     0.66   0.17    =    0.78     0.37   0.19    =   -0.14     0.36    0.59   UJ    1.07     0.27    0.64    =   0.03
SVP190183     SVP190186    872124.3   1085379.7    497.2       6/4/2019       5.5      6.0       -1.90     0.43   0.33   UJ    0.56     1.15   1.99   UJ    1.51     0.40   0.13       =      1.00      0.14   0.12      =      0.98     0.45    0.20        =    3.19     0.97   0.21    =    1.34     0.54   0.20    =    0.05     0.36    0.61   UJ    1.38     0.31    0.66    =   0.12
SVP190183     SVP211111    872124.3   1085379.7    497.2       6/4/2019       6.0      6.5       -1.60     0.45   0.50   UJ    0.71     1.63   2.88   UJ    1.97     0.54   0.19       =      1.12      0.18   0.18      =      1.04     0.42    0.14        =    1.73     0.58   0.16    =    0.98     0.41   0.24    =   -0.29     0.48    0.79   UJ    0.95     0.36    0.90    =   0.05
SVP190183     SVP211112    872124.3   1085379.7    497.2       6/4/2019       7.0      7.5       -1.08     0.26   0.33   UJ    0.10     1.14   1.94   UJ    1.61     0.42   0.13       =      1.03      0.14   0.13      =      0.94     0.40    0.16        =    2.10     0.66   0.15    =    1.19     0.46   0.25    =    0.41     0.36    0.62   UJ    0.96     0.25    0.62    =   0.05
SVP190187     SVP190187    872240.2   1085379.8    496.9       6/4/2019       0.0      0.5       -1.06     0.29   0.27   UJ   -0.29     1.09   1.84   UJ    1.25     0.35   0.13       =      0.67      0.12   0.14      =      1.11     0.44    0.20        =    1.99     0.63   0.15    J    0.79     0.36   0.13    J   -0.05     0.34    0.57   UJ    1.00     0.33    0.57    =   0.10
SVP190187     SVP190188    872240.2   1085379.8    496.9       6/4/2019       1.5      2.0       -1.40     0.36   0.28   UJ    0.44     1.07   1.87   UJ    1.21     0.34   0.13       =      0.82      0.13   0.12      =      1.08     0.47    0.25        =    1.48     0.58   0.26    J    0.84     0.41   0.21    J    0.66     0.36    0.62   UJ    1.02     0.39    0.54    =   0.00
SVP190187     SVP211113    872240.2   1085379.8    496.9       6/4/2019       2.0      2.5       -1.93     0.45   0.27   UJ   -0.36     1.09   1.83   UJ    1.23     0.34   0.13       =      0.83      0.12   0.13      =      1.59     0.51    0.19        =    1.26     0.45   0.22    J    0.82     0.34   0.13    J    0.10     0.33    0.57   UJ    0.91     0.32    0.51    =   0.01
SVP190187     SVP211114    872240.2   1085379.8    496.9       6/4/2019       4.5      5.0       -1.43     0.38   0.31   UJ   -1.25     1.26   1.90   UJ    1.29     0.36   0.14       =      0.83      0.14   0.14      =      1.47     0.52    0.22        =    1.62     0.55   0.18    J    0.94     0.39   0.16    J    0.29     0.37    0.62   UJ    0.83     0.32    0.55    =   0.01
SVP190221     SVP190221    871950.1   1085480.9    497.2       6/4/2019       0.0      0.5       -1.05     0.27   0.34   UJ    0.69     1.18   2.06   UJ    1.12     0.31   0.12       =      0.81      0.12   0.13      =      1.24     0.48    0.17        =    1.69     0.58   0.26    =    0.55     0.30   0.25    J    0.15     0.34    0.59   UJ    1.12     0.28    0.66    =   0.05
SVP190221     SVP190222    871950.1   1085480.9    497.2       6/4/2019       0.5      1.0       -1.14     0.29   0.33   UJ   -0.36     1.10   1.83   UJ    1.14     0.31   0.13       =      0.83      0.14   0.13      =      1.78     0.70    0.20        =    2.47     0.87   0.23    =    1.19     0.55   0.34    =    0.16     0.33    0.57   UJ    0.82     0.25    0.62    =   0.04
SVP190221     SVP211118    871950.1   1085480.9    497.2       6/4/2019       3.5      4.0       -0.99     0.27   0.36   UJ   -0.55     1.15   1.90   UJ    1.26     0.34   0.12       =      0.91      0.14   0.14      =      1.41     0.59    0.22        =    1.27     0.55   0.23    =    0.82     0.42   0.20    J   -0.04     0.36    0.61   UJ    1.00     0.51    0.63    J   0.01
SVP190221     SVP211119    871950.1   1085480.9    497.2       6/4/2019       4.5      5.0       -1.48     0.33   0.32   UJ    0.26     1.11   1.91   UJ    1.36     0.36   0.13       =      1.01      0.14   0.13      =      1.20     0.48    0.16        =    2.18     0.70   0.20    =    0.58     0.31   0.17    J   -0.02     0.34    0.56   UJ    1.50     0.31    0.61    =   0.04
SVP190223     SVP190223    872066.2   1085480.8    497.1       6/4/2019       0.0      0.5       -1.10     0.28   0.33   UJ   -0.40     1.19   1.98   UJ    1.14     0.32   0.14       =      0.76      0.12   0.14      =      1.37     0.52    0.16        =    2.02     0.67   0.26    =    0.85     0.38   0.14    =   -0.14     0.37    0.61   UJ    0.88     0.27    0.69    =   0.08
SVP190223     SVP190224    872066.2   1085480.8    497.1       6/4/2019       0.5      1.0       -0.87     0.24   0.33   UJ    0.67     1.14   2.00   UJ    1.17     0.32   0.12       =      0.74      0.12   0.12      =      1.44     0.55    0.24        =    2.06     0.69   0.24    =    0.77     0.38   0.28    =   -0.03     0.35    0.59   UJ    1.13     0.36    0.61    =   0.02
SVP190223     SVP190225    872066.2   1085480.8    497.1       6/4/2019       2.0      2.5       -1.07     0.28   0.34   UJ    0.44     1.13   1.96   UJ    1.30     0.35   0.12       =      0.83      0.13   0.11      =      1.30     0.51    0.17        =    1.72     0.61   0.17    =    1.08     0.45   0.16    =    0.45     0.35    0.61   UJ    1.09     0.28    0.61    =   0.01
SVP190223     SVP190226    872066.2   1085480.8    497.1       6/4/2019       5.5      6.0       -1.27     0.30   0.33   UJ   -0.21     1.08   1.81   UJ    1.33     0.36   0.13       =      0.92      0.15   0.13      =      1.39     0.49    0.15        =    2.09     0.65   0.12    =    1.29     0.47   0.14    =   -0.23     0.34    0.55   UJ    1.29     0.29    0.64    =   0.03
SVP190223     SVP211117    872066.2   1085480.8    497.1       6/4/2019       4.0      4.5       -0.98     0.26   0.34   UJ    0.34     1.18   2.04   UJ    1.25     0.34   0.14       =      0.89      0.13   0.13      =      1.39     0.54    0.19        =    2.25     0.74   0.15    =    1.32     0.53   0.29    =    0.28     0.37    0.63   UJ    1.06     0.27    0.69    =   0.03
SVP190227     SVP190227    872182.1   1085480.8    497.3       6/4/2019       0.0      0.5       -0.85     0.25   0.34   UJ    0.86     1.22   2.14   UJ    1.23     0.34   0.12       =      0.87      0.14   0.12      =      1.42     0.55    0.28        =    1.87     0.66   0.21    =    1.00     0.44   0.15    =    0.09     0.36    0.62   UJ    0.88     0.26    0.66    =   0.08
SVP190227     SVP190228    872182.1   1085480.8    497.3       6/4/2019       1.0      1.5       -0.79     0.22   0.32   UJ   -0.03     1.04   1.77   UJ    1.18     0.32   0.12       =      0.80      0.11   0.11      =      1.40     0.50    0.12        =    2.26     0.68   0.12    =    0.67     0.32   0.12    =    0.03     0.32    0.55   UJ    1.05     0.27    0.61    =   0.03
SVP190227     SVP211115    872182.1   1085480.8    497.3       6/4/2019       3.0      3.5       -1.09     0.27   0.34   UJ    0.43     1.16   2.01   UJ    1.32     0.36   0.13       =      0.93      0.14   0.13      =      1.08     0.45    0.18        =    2.05     0.68   0.17    =    0.89     0.40   0.19    =    0.22     0.36    0.62   UJ    1.00     0.27    0.64    =   0.03
SVP190227     SVP211116    872182.1   1085480.8    497.3       6/4/2019       4.5      5.0       -1.00     0.27   0.33   UJ   -0.84     1.08   1.75   UJ    1.29     0.35   0.12       =      0.95      0.14   0.11      =      1.50     0.58    0.18        =    1.71     0.64   0.30    =    1.10     0.49   0.30    =    0.05     0.34    0.58   UJ    1.10     0.27    0.65    =   0.01
SVP190247     SVP190247    872298.6   1085683.4    495.9      8/16/2018       0.0      0.5       -0.75     0.15   0.13   UJ   -0.41     0.49   0.79   UJ    1.33     0.33   0.06       =      0.84      0.10   0.06      =      1.62     0.55    0.19        =    1.56     0.54   0.15    J    0.96     0.41   0.25    =    0.00     0.16    0.27   UJ    0.99     0.18    0.30    =   0.08




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                                                                                                                                                                     Case: 4:20-cv-01227-JAR Doc. #: 111-1 Filed: 08/01/22 Page: 2 of 3 PageID #: 3895

                                                                                                                                                                                                   Jana School (CWC-386)



                                                                                                          Ac_227G                      Pa_231G                      Ra_226G                            Ra_228G                          Th_228G                           Th_230G                      Th_232G                       U_235G                        U_238G
Station_ID   Sample_ID     Easting    Northing    Elevation     Date   Start_DepthEnd_Depth                                                                                                                                                                                                                                                                                         SORN
                                                                                              Result   Error   MDC    VQ   Result   Error   MDC    VQ   Result   Error   MDC       VQ     Result    Error   MDC      VQ     Result   Error    MDC        VQ   Result   Error   MDC    VQ   Result   Error   MDC    VQ   Result   Error    MDC    VQ   Result   Error    MDC    VQ
SVP190247     SVP190248    872298.6   1085683.4    495.9      8/16/2018    1.0      1.5       -0.90     0.18   0.12   UJ    0.49     0.45   0.79   UJ    1.24     0.31   0.05       =      0.70      0.09   0.05      =      1.02     0.37    0.12        =    1.37     0.45   0.13    J    0.83     0.33   0.12    =    0.05     0.16    0.26   UJ    1.02     0.17    0.30    =   0.01
SVP190263     SVP190263    872414.1   1085885.0    494.8       6/4/2019    0.0      0.5       -1.55     0.34   0.29   UJ   -0.60     1.05   1.72   UJ    1.33     0.36   0.12       =      0.98      0.13   0.11      =      1.70     0.58    0.15        =    1.90     0.63   0.21    J    0.79     0.37   0.18    =    0.22     0.32    0.55   UJ    1.12     0.25    0.51    =   0.11
SVP190263     SVP190264    872414.1   1085885.0    494.8        6/4/2019   1.5      2.0       -2.10     0.44   0.29   UJ   -0.55     1.02   1.68   UJ    1.34     0.36   0.11       =      0.89      0.12   0.11      =      1.38     0.48    0.20        =    1.73     0.55   0.16    J    0.95     0.38   0.22    =    0.14     0.33    0.56   UJ    1.10     0.24    0.54    =   0.01
SVP190263     SVP211120    872414.1   1085885.0    494.8        6/4/2019   3.0      3.5       -2.23     0.44   0.28   UJ   -0.90     0.99   1.58   UJ    1.53     0.40   0.11       =      0.94      0.13   0.12      =      1.63     0.54    0.22        =    1.67     0.55   0.18    J    1.26     0.46   0.15    =    0.15     0.31    0.52   UJ    1.28     0.26    0.52    =   0.03
SVP190267     SVP190267    872469.7   1085988.0    503.2      8/21/2018    0.0      0.5       -1.13     0.23   0.15   UJ    0.20     0.59   1.02   UJ    1.34     0.34   0.07       =      0.84      0.10   0.06      =      1.57     0.52    0.18        =    1.97     0.60   0.14    =    0.86     0.36   0.14    =   -0.02     0.18    0.30   UJ    1.25     0.21    0.33    =   0.12
SVP190267    SVP190267-1   872469.7   1085988.0    503.2      8/21/2018    0.0      0.5       -0.72     0.16   0.17   UJ   -0.19     0.57   0.95   UJ    1.44     0.37   0.06       =      0.80      0.12   0.06      =      1.03     0.39    0.21        =    1.51     0.49   0.11    =    1.16     0.42   0.15    =    0.05     0.20    0.33   UJ    1.24     0.22    0.37    =   0.10
SVP190267    SVP190267-2   872469.7   1085988.0    503.2      8/21/2018    0.0      0.5        0.09     0.37   1.26   UJ    0.72     3.10   8.06   UJ    1.26     0.31   0.20       =      1.25      0.34   0.45      =      0.72     0.18    0.10        =    0.87     0.21   0.13    =    0.69     0.17   0.08    =    0.26     0.49    0.88   UJ    1.22     0.93    1.36   UJ   0.06
SVP190267     SVP190268    872469.7   1085988.0    503.2      8/21/2018    1.5      2.0       -0.37     0.09   0.15   UJ    0.44     0.52   0.90   UJ    1.33     0.33   0.06       =      0.81      0.10   0.05      =      1.71     0.57    0.19        =    1.68     0.56   0.18    =    0.65     0.31   0.16    =    0.11     0.18    0.31   UJ    1.16     0.21    0.33    =   0.01
SVP190267     SVP205289    872469.7   1085988.0    503.2      8/21/2018    3.5      4.0       -0.90     0.19   0.17   UJ   -0.55     0.62   1.00   UJ    1.51     0.38   0.08       =      0.90      0.12   0.08      =      1.47     0.48    0.18        =    1.47     0.48   0.17    =    1.43     0.47   0.11    =    0.20     0.21    0.35   UJ    1.30     0.22    0.37    =   0.02
SVP190267     SVP205290    872469.7   1085988.0    503.2       8/21/2018   4.5      5.0       -1.22     0.23   0.17   UJ   -0.33     0.57   0.94   UJ    1.56     0.39   0.06       =      0.90      0.11   0.06      =      1.40     0.49    0.18        =    1.35     0.47   0.17    =    1.47     0.50   0.17    =   -0.14     0.20    0.33   UJ    1.40     0.23    0.38    =   0.03
SVP190267     SVP232388    872469.7   1085988.0    503.2        7/6/2021   6.0      6.5       -0.03     0.15   0.25   UJ   -0.29     0.54   0.89   UJ    0.90     0.24   0.06       =      0.88      0.13   0.06      =      1.39     0.39    0.14        =    1.68     0.43   0.12    =    1.02     0.32   0.16    =    0.07     0.18    0.30   UJ    1.05     0.19    0.31    =   0.00
SVP190267     SVP232389    872469.7   1085988.0    503.2        7/6/2021   8.0      8.5        0.10     0.15   0.26   UJ    0.07     0.53   0.90   UJ    0.87     0.23   0.06       =      0.80      0.10   0.06      =      1.14     0.38    0.16        =    1.86     0.50   0.19    =    1.10     0.37   0.19    =    0.05     0.16    0.28   UJ    1.02     0.18    0.29    =   0.00
SVP190267     SVP232390    872469.7   1085988.0    503.2        7/6/2021   8.5      9.0       -0.06     0.16   0.26   UJ    0.13     0.55   0.94   UJ    0.98     0.26   0.06       =      0.90      0.11   0.07      =      1.04     0.33    0.17        =    1.73     0.45   0.13    =    1.23     0.37   0.13    =   -0.08     0.18    0.29   UJ    0.91     0.17    0.29    =   0.00
SVP190337     SVP190337    871800.4   1085126.5    478.4      10/11/2018   0.0      0.5       -0.40     0.14   0.17   UJ    0.15     0.60   1.04   UJ    1.11     0.29   0.06       =      0.18      0.04   0.04      J      0.30     0.36    0.56       UJ    0.69     0.54   0.42    J    0.35     0.37   0.34   UJ    0.10     0.21    0.36   UJ    0.50     0.23    0.37    =   0.03
SVP190337     SVP190338    871800.4   1085126.5    478.4      10/11/2018   1.0      1.5       -0.66     0.18   0.17   UJ   -0.54     0.65   1.05   UJ    1.24     0.33   0.07       =      0.27      0.06   0.06      J      0.42     0.28    0.27        J    1.05     0.47   0.21    J    0.39     0.27   0.23    J   -0.09     0.22    0.36   UJ    0.41     0.23    0.41   UJ   0.01
SVP190337     SVP206998    871800.4   1085126.5    478.4      10/11/2018   1.5      2.0       -0.26     0.08   0.12   UJ    0.03     0.44   0.75   UJ    1.34     0.33   0.05       =      0.30      0.05   0.04      J      0.35     0.37    0.52       UJ    0.87     0.57   0.38    J    0.24     0.33   0.59   UJ    0.07     0.15    0.26   UJ    0.55     0.12    0.25    =   0.01
SVP190353     SVP190353    871952.4   1085034.7    478.0      10/11/2018   0.0      0.5       -0.46     0.11   0.15   UJ   -0.26     0.54   0.88   UJ    1.44     0.36   0.05       =      0.87      0.11   0.06      =      1.05     0.39    0.14        =    1.66     0.52   0.11    J    0.97     0.37   0.14    =   -0.03     0.18    0.30   UJ    1.15     0.20    0.33    =   0.11
SVP190353     SVP190354    871952.4   1085034.7    478.0      10/11/2018   1.0      1.5       -0.50     0.11   0.16   UJ    0.10     0.57   0.96   UJ    1.74     0.43   0.06       =      0.96      0.11   0.06      =      1.24     0.45    0.19        =    1.53     0.52   0.14    J    0.74     0.33   0.15    =    0.03     0.19    0.32   UJ    1.34     0.23    0.37    =   0.04
SVP190365     SVP190365    872054.2   1085024.5    478.7      10/11/2018   0.0      0.5       -0.58     0.13   0.14   UJ   -0.16     0.52   0.86   UJ    1.67     0.41   0.05       =      0.51      0.06   0.05      =      0.65     0.38    0.26        J    1.11     0.51   0.23    J    0.36     0.27   0.18    J    0.09     0.18    0.30   UJ    0.88     0.17    0.31    =   0.14
SVP190365     SVP190366    872054.2   1085024.5    478.7      10/11/2018   0.5      1.0       -0.92     0.18   0.15   UJ    0.32     0.54   0.93   UJ    1.81     0.45   0.06       =      0.69      0.09   0.05      =      1.15     0.44    0.24        =    1.09     0.42   0.16    J    0.93     0.38   0.15    =    0.01     0.19    0.32   UJ    0.93     0.17    0.32    =   0.04
SVP201624     SVP201624    872240.4   1085164.5    481.5      6/12/2019    0.0      0.5       -2.02     0.38   0.23   UJ    0.42     0.69   1.19   UJ    1.45     0.37   0.07       =      0.85      0.11   0.07      =      0.89     0.41    0.19        =    3.09     0.92   0.15    =    1.13     0.48   0.29    =   -0.01     0.22    0.37   UJ    1.22     0.21    0.30    =   0.22
SVP201624     SVP201625    872240.4   1085164.5    481.5       6/12/2019   1.5      2.0       -1.54     0.30   0.22   UJ   -0.41     0.65   1.07   UJ    1.42     0.37   0.07       =      0.86      0.12   0.06      =      1.61     0.62    0.20        =    4.09     1.18   0.20    =    0.89     0.43   0.19    =    0.18     0.22    0.37   UJ    1.25     0.22    0.32    =   0.17
SVP201624     SVP201626    872240.4   1085164.5    481.5      6/12/2019    2.5      3.0       -1.58     0.30   0.21   UJ    0.07     0.68   1.15   UJ    1.43     0.37   0.07       =      0.90      0.12   0.07      =      1.08     0.46    0.17        =    3.39     0.98   0.20    =    1.00     0.44   0.19    =    0.28     0.23    0.38   UJ    1.12     0.20    0.32    =   0.12
SVP201624     SVP201627    872240.4   1085164.5    481.5      6/12/2019    4.0      4.5       -1.76     0.33   0.22   UJ    0.19     0.70   1.18   UJ    1.71     0.43   0.07       =      0.84      0.11   0.07      =      1.45     0.60    0.24        =    4.22     1.26   0.21    =    0.75     0.40   0.17    J   -0.22     0.23    0.37   UJ    1.15     0.20    0.32    =   0.20
SVP201624     SVP211143    872240.4   1085164.5    481.5       6/12/2019   5.0      5.5       -2.14     0.38   0.21   UJ    0.40     0.68   1.16   UJ    1.81     0.47   0.07       =      0.91      0.11   0.07      =      1.96     0.72    0.22        =    4.20     1.24   0.17    =    0.77     0.40   0.19    J   -0.13     0.23    0.37   UJ    1.23     0.22    0.32    =   0.20
SVP201642     SVP201642    872178.6   1085164.4    476.8      10/11/2018   0.0      0.5       -0.88     0.20   0.20   UJ   -0.12     0.62   1.05   UJ    0.98     0.26   0.06       =      0.58      0.09   0.07      =      0.36     0.26    0.27        J    0.88     0.42   0.20    J    0.84     0.41   0.17    =    0.04     0.19    0.32   UJ    0.86     0.17    0.31    =   0.01
SVP201642     SVP201643    872178.6   1085164.4    476.8      10/11/2018   1.5      2.0       -0.69     0.18   0.22   UJ   -0.02     0.64   1.09   UJ    1.02     0.27   0.08       =      0.57      0.08   0.08      =      0.96     0.45    0.34        =    1.13     0.49   0.21    J    0.91     0.43   0.22    =   -0.03     0.21    0.35   UJ    0.89     0.18    0.32    =   0.00
SVP201660     SVP201660    872236.9   1085625.1    496.0        8/8/2018   0.0      0.5       -1.65     0.31   0.19   UJ   -0.21     0.66   1.10   UJ    1.33     0.34   0.07       =      0.80      0.11   0.08      =      1.63     0.56    0.19        =    1.70     0.58   0.18    =    1.09     0.44   0.16    =    0.00     0.23    0.38   UJ    1.05     0.23    0.46    =   0.09
SVP201660     SVP201661    872236.9   1085625.1    496.0       8/8/2018    0.5      1.0       -0.80     0.17   0.19   UJ   -0.48     0.61   0.99   UJ    1.35     0.35   0.07       =      0.87      0.13   0.07      =      1.22     0.44    0.20        =    1.18     0.43   0.16    =    1.09     0.41   0.12    =    0.15     0.22    0.37   UJ    1.08     0.22    0.45    =   0.01
SVP201664     SVP201664    872259.5   1085179.7    471.3      10/11/2018   0.0      0.5       -0.92     0.20   0.24   UJ   -0.62     0.71   1.15   UJ    1.28     0.33   0.07       =      0.82      0.11   0.08      =      1.50     0.54    0.20        =    1.92     0.63   0.18    =    1.17     0.46   0.14    =    0.01     0.22    0.36   UJ    1.04     0.20    0.35    =   0.10
SVP201664     SVP201665    872259.5   1085179.7    471.3      10/11/2018   1.5      2.0       -0.91     0.19   0.22   UJ    0.07     0.67   1.14   UJ    1.18     0.31   0.07       =      0.78      0.10   0.07      =      1.01     0.38    0.21        J    0.99     0.37   0.14    J    0.85     0.34   0.13    J   -0.03     0.22    0.36   UJ    1.01     0.19    0.33    =   0.00
SVP201666     SVP201666    872310.1   1085173.1    475.8      9/25/2018    0.0      0.5       -0.80     0.16   0.16   UJ   -0.18     0.54   0.90   UJ    1.62     0.41   0.05       =      0.61      0.08   0.05      =      1.28     0.45    0.14        J    2.02     0.60   0.13    J    0.91     0.37   0.22    J    0.00     0.18    0.30   UJ    1.03     0.23    0.31    =   0.17
SVP201666     SVP201667    872310.1   1085173.1    475.8      9/25/2018    0.5      1.0        0.13     0.05   0.11    =   -0.31     0.50   0.82   UJ    1.54     0.38   0.05       =      0.45      0.06   0.05      =      0.93     0.41    0.23        =    7.36     1.76   0.18    =    0.36     0.24   0.14    J   -0.01     0.17    0.29   UJ    0.81     0.16    0.31    =   0.39
SVP201666     SVP206940    872310.1   1085173.1    475.8      9/25/2018    3.0      3.5       -0.59     0.13   0.14   UJ   -0.24     0.49   0.80   UJ    1.51     0.37   0.05       =      0.39      0.06   0.05      =      0.42     0.26    0.25        J    4.80     1.21   0.17    =    0.59     0.31   0.17    J    0.03     0.17    0.29   UJ    0.86     0.21    0.28    =   0.22
SVP202180     SVP202180    872333.7   1085206.6    471.9      9/13/2018    0.0      0.5       -0.37     0.13   0.17   UJ    0.22     0.56   1.00   UJ    0.97     0.27   0.07       =      0.26      0.05   0.06      J      0.32     0.23    0.21        J    1.84     0.63   0.14    =    0.21     0.19   0.19    J    0.07     0.21    0.36   UJ    0.65     0.18    0.37    =   0.03
SVP202180     SVP202181    872333.7   1085206.6    471.9      9/13/2018    0.5      1.0       -1.15     0.23   0.19   UJ    0.06     0.63   1.06   UJ    1.24     0.32   0.07       =      0.67      0.10   0.06      =      0.86     0.39    0.23        =    1.36     0.51   0.20    =    0.76     0.36   0.19    =    0.19     0.22    0.37   UJ    0.99     0.45    0.44    =   0.01
SVP202474     SVP202474    872225.4   1085155.9    481.8       9/18/2018   0.0      0.5       -1.35     0.25   0.19   UJ    0.05     0.60   1.02   UJ    1.52     0.39   0.07       =      0.90      0.11   0.07      =      1.20     0.44    0.20        =    2.68     0.74   0.13    =    1.13     0.42   0.22    =   -0.03     0.21    0.35   UJ    1.23     0.25    0.43    =   0.20
SVP202474     SVP202475    872225.4   1085155.9    481.8      9/18/2018    0.5      1.0       -1.00     0.20   0.18   UJ   -0.02     0.61   1.03   UJ    1.49     0.38   0.07       =      0.78      0.10   0.07      =      1.23     0.45    0.14        =    2.43     0.70   0.16    =    0.86     0.37   0.23    =    0.09     0.21    0.36   UJ    1.21     0.23    0.46    =   0.06
SVP202474     SVP202476    872225.4   1085155.9    481.8      9/18/2018    3.5      4.0       -1.63     0.30   0.19   UJ   -0.25     0.64   1.06   UJ    1.51     0.39   0.07       =      0.84      0.11   0.06      =      1.40     0.49    0.14        =    1.56     0.53   0.12    =    0.90     0.37   0.15    =   -0.07     0.22    0.35   UJ    1.06     0.23    0.45    =   0.02
SVP202474     SVP202477    872225.4   1085155.9    481.8      9/18/2018    5.0      5.5       -1.48     0.28   0.19   UJ   -0.37     0.65   1.06   UJ    1.45     0.37   0.07       =      0.89      0.11   0.07      =      1.59     0.54    0.21        =    1.67     0.55   0.19    =    0.88     0.37   0.12    =    0.16     0.22    0.38   UJ    1.05     0.23    0.46    =   0.02
SVP202496     SVP202496    872295.3   1085214.8    480.6      9/17/2018    0.0      0.5       -0.57     0.18   0.41   UJ   -1.61     1.26   1.95   UJ    1.15     0.33   0.14       =      0.73      0.14   0.13      =      0.89     0.35    0.18        =    1.83     0.55   0.14    =    0.93     0.36   0.11    =    0.01     0.36    0.61   UJ    1.11     0.27    0.63    =   0.06
SVP202496     SVP202497    872295.3   1085214.8    480.6      9/17/2018    1.5      2.0       -0.91     0.20   0.28   UJ    0.29     0.81   1.39   UJ    1.40     0.37   0.08       =      0.91      0.14   0.08      =      1.05     0.39    0.17        =    1.87     0.56   0.15    =    1.03     0.38   0.13    =    0.06     0.25    0.42   UJ    1.37     0.24    0.40    =   0.02
SVP202496     SVP205317    872295.3   1085214.8    480.6       9/17/2018   5.0      5.5       -0.85     0.18   0.13   UJ   -0.33     0.56   0.92   UJ    1.16     0.30   0.06       =      0.89      0.11   0.06      =      0.58     0.26    0.11        J    0.84     0.32   0.12    J    0.87     0.33   0.18    J    0.03     0.17    0.29   UJ    0.93     0.17    0.30    =   0.00
SVP202506     SVP202506    872305.0   1085242.0    498.3       9/4/2018    0.0      0.5       -0.83     0.20   0.25   UJ   -0.34     0.87   1.45   UJ    1.28     0.34   0.10       =      0.80      0.12   0.11      =      1.53     0.54    0.22        =    1.91     0.63   0.21    J    1.03     0.42   0.13    =    0.08     0.28    0.48   UJ    1.58     1.01    1.72   UJ   0.11
SVP202506    SVP202506-1   872305.0   1085242.0    498.3        9/4/2018   0.0      0.5       -1.06     0.21   0.20   UJ   -0.33     0.62   1.02   UJ    1.36     0.36   0.07       =      0.88      0.12   0.06      =      0.93     0.36    0.16        =    1.71     0.53   0.15    J    0.80     0.33   0.15    =   -0.02     0.21    0.36   UJ    1.24     0.25    0.47    =   0.10
SVP202506    SVP202506-2   872305.0   1085242.0    498.3        9/4/2018   0.0      0.5        0.24     0.41   1.41   UJ   -0.19     0.86   8.18   UJ    1.01     0.26   0.19       J      1.18      0.29   0.32      J      0.86     0.19    0.11        =    1.08     0.22   0.13    =    0.79     0.17   0.08    =    0.20     0.44    1.63   UJ   -1.45     0.97    4.39   UJ   0.01
SVP202506     SVP202507    872305.0   1085242.0    498.3       9/4/2018    0.5      1.0       -1.09     0.21   0.14   UJ    0.51     0.54   0.93   UJ    1.40     0.35   0.06       =      0.85      0.10   0.05      =      1.23     0.48    0.23        =    2.32     0.72   0.21    =    0.90     0.39   0.15    =    0.17     0.18    0.30   UJ    1.06     0.18    0.30    =   0.05
SVP202506     SVP202508    872305.0   1085242.0    498.3        9/4/2018   3.0      3.5       -0.76     0.16   0.14   UJ    0.10     0.51   0.86   UJ    1.17     0.30   0.06       =      0.83      0.10   0.06      =      0.99     0.38    0.17        =    1.11     0.41   0.13    J    1.11     0.41   0.22    =    0.02     0.18    0.30   UJ    1.36     0.22    0.34    =   0.00
SVP202506     SVP202509    872305.0   1085242.0    498.3        9/4/2018   4.5      5.0       -1.04     0.22   0.14   UJ    0.09     0.56   0.96   UJ    1.17     0.30   0.06       =      0.77      0.10   0.06      =      1.26     0.47    0.19        =    1.56     0.54   0.19    J    0.94     0.39   0.17    =    0.13     0.17    0.29   UJ    0.88     0.17    0.31    =   0.00
SVP202510     SVP202510    872348.8   1085246.7    481.6      9/17/2018    0.0      0.5       -1.06     0.23   0.26   UJ   -0.02     0.74   1.24   UJ    1.27     0.34   0.09       =      0.78      0.12   0.08      =      1.57     0.50    0.21        =    2.63     0.71   0.13    =    1.00     0.38   0.12    =    0.23     0.23    0.38   UJ    0.99     0.20    0.37    =   0.15
SVP202510     SVP202511    872348.8   1085246.7    481.6      9/17/2018    1.0      1.5       -0.85     0.19   0.27   UJ   -0.02     0.76   1.28   UJ    1.45     0.38   0.09       =      0.87      0.12   0.09      =      0.94     0.37    0.18        =    5.51     1.22   0.16    =    1.20     0.42   0.15    =    0.05     0.24    0.40   UJ    1.29     0.23    0.40    =   0.27
SVP202516     SVP202516    872362.7   1085277.1    488.9        9/5/2018   0.0      0.5       -1.02     0.19   0.13   UJ   -0.38     0.49   0.79   UJ    1.38     0.35   0.06       =      0.82      0.10   0.06      =      0.89     0.39    0.20        =    4.05     1.07   0.17    =    1.29     0.49   0.14    =    0.16     0.14    0.23   UJ    1.08     0.18    0.28    =   0.27
SVP202516     SVP202517    872362.7   1085277.1    488.9        9/5/2018   0.5      1.0       -1.31     0.24   0.14   UJ    0.02     0.50   0.84   UJ    1.52     0.38   0.06       =      0.79      0.10   0.06      =      0.81     0.35    0.19        =    3.58     0.93   0.17    =    1.20     0.45   0.12    =    0.06     0.16    0.27   UJ    0.99     0.23    0.30    =   0.14
SVP202516     SVP202518    872362.7   1085277.1    488.9        9/5/2018   2.5      3.0        0.16     0.04   0.11    =   -0.24     0.52   0.86   UJ    1.77     0.44   0.06       =      0.86      0.10   0.06      =      1.33     0.50    0.22        =    8.28     1.87   0.21    =    1.48     0.53   0.14    =    0.11     0.17    0.29   UJ    1.14     0.19    0.33    =   0.47
SVP202516     SVP202519    872362.7   1085277.1    488.9        9/5/2018   4.5      5.0       -1.02     0.20   0.19   UJ   -0.03     0.66   1.11   UJ    1.51     0.39   0.07       =      0.90      0.11   0.07      =      1.03     0.39    0.17        =    1.59     0.51   0.16    =    0.92     0.36   0.16    =    0.16     0.22    0.37   UJ    1.11     0.24    0.44    =   0.02
SVP202524     SVP202524    872383.4   1085309.5    488.2        9/4/2018   0.0      0.5       -0.98     0.20   0.14   UJ   -0.31     0.52   0.85   UJ    1.34     0.34   0.06       =      0.85      0.11   0.06      =      1.34     0.47    0.18        =    2.77     0.76   0.17    =    1.03     0.40   0.12    =    0.08     0.17    0.28   UJ    1.13     0.19    0.32    =   0.17
SVP202524    SVP202524-1   872383.4   1085309.5    488.2        9/4/2018   0.0      0.5       -1.30     0.24   0.16   UJ    0.02     0.54   0.91   UJ    1.31     0.33   0.06       =      0.87      0.10   0.05      =      1.12     0.41    0.18        =    3.60     0.90   0.13    =    0.96     0.37   0.14    =    0.06     0.19    0.31   UJ    1.04     0.20    0.34    =   0.22
SVP202524     SVP202525    872383.4   1085309.5    488.2        9/4/2018   1.5      2.0       -1.55     0.29   0.17   UJ   -0.16     0.60   0.99   UJ    1.51     0.38   0.07       =      0.87      0.11   0.07      =      1.76     0.62    0.22        =    6.96     1.69   0.20    =    1.17     0.48   0.18    =   -0.10     0.19    0.31   UJ    1.06     0.18    0.35    =   0.37
SVP202524     SVP208531    872383.4   1085309.5    488.2       9/4/2018    3.0      3.5        0.14     0.10   0.15    U   -0.04     0.54   0.91   UJ    1.33     0.34   0.06       =      0.83      0.10   0.05      =      1.45     0.49    0.19        =    9.65     2.00   0.14    =    1.19     0.43   0.12    =    0.12     0.19    0.32   UJ    1.26     0.21    0.33    =   0.53
SVP202534     SVP202534    872400.6   1085341.4    489.5        9/4/2018   0.0      0.5       -1.44     0.26   0.18   UJ    0.84     0.63   1.10   UJ    1.45     0.37   0.07       =      0.87      0.12   0.07      =      1.15     0.46    0.19        =    4.02     1.07   0.18    =    1.20     0.47   0.16    =   -0.09     0.22    0.36   UJ    1.38     0.25    0.45    =   0.29
SVP202534    SVP202534-1   872400.6   1085341.4    489.5        9/4/2018   0.0      0.5       -0.87     0.18   0.13   UJ    0.16     0.52   0.88   UJ    1.43     0.36   0.06       =      0.85      0.10   0.06      =      1.27     0.44    0.17        =    3.22     0.83   0.14    =    0.87     0.35   0.14    =    0.07     0.17    0.29   UJ    1.02     0.18    0.30    =   0.22
SVP202534    SVP202534-2   872400.6   1085341.4    489.5       9/4/2018    0.0      0.5       -0.29     0.88   1.20   UJ   -1.20     4.57   7.67   UJ    0.99     0.24   0.17       J      1.29      0.33   0.13      J      0.78     0.18    0.10        =    2.69     0.39   0.16    =    0.67     0.17   0.13    =   -0.29     0.90    1.15   UJ   -0.39     1.74    2.95   UJ   0.09
SVP202534     SVP202535    872400.6   1085341.4    489.5        9/4/2018   0.5      1.0       -1.12     0.22   0.19   UJ    0.09     0.65   1.10   UJ    1.44     0.37   0.08       =      0.91      0.11   0.07      =      1.59     0.54    0.24        =    4.25     1.07   0.13    =    0.90     0.38   0.17    =    0.01     0.22    0.37   UJ    1.47     0.27    0.46    =   0.18
SVP202534     SVP202536    872400.6   1085341.4    489.5        9/4/2018   3.0      3.5       -0.45     0.11   0.14   UJ   -0.54     0.52   0.83   UJ    1.66     0.41   0.06       =      0.90      0.11   0.05      =      1.37     0.47    0.17        =    9.55     2.01   0.16    =    0.88     0.36   0.14    =    0.03     0.17    0.28   UJ    1.08     0.18    0.32    =   0.55
SVP202534     SVP202537    872400.6   1085341.4    489.5        9/4/2018   5.5      6.0       -1.22     0.22   0.14   UJ   -0.46     0.53   0.84   UJ    1.45     0.36   0.06       =      0.99      0.13   0.06      =      2.13     0.72    0.21        =    2.69     0.84   0.21    =    1.46     0.56   0.17    =   -0.07     0.17    0.28   UJ    1.28     0.21    0.32    =   0.08
SVP203727     SVP203727    872302.7   1085273.8    497.3        8/8/2018   0.0      0.5       -0.68     0.14   0.16   UJ    0.21     0.55   0.94   UJ    1.38     0.34   0.06       =      0.89      0.11   0.06      =      1.35     0.46    0.20        =    1.54     0.50   0.11    =    1.22     0.44   0.21    =    0.09     0.19    0.32   UJ    1.14     0.21    0.35    =   0.09
SVP203727     SVP203728    872302.7   1085273.8    497.3        8/8/2018   1.5      2.0       -0.50     0.12   0.16   UJ   -0.05     0.56   0.94   UJ    1.45     0.36   0.05       =      0.92      0.11   0.06      =      0.84     0.33    0.18        =    1.53     0.48   0.17    =    0.90     0.35   0.15    =   -0.14     0.19    0.31   UJ    1.22     0.21    0.34    =   0.02
SVP203727     SVP205282    872302.7   1085273.8    497.3       8/8/2018    3.0      3.5       -0.71     0.14   0.15   UJ    0.19     0.54   0.92   UJ    1.30     0.33   0.06       =      0.95      0.11   0.05      =      1.64     0.53    0.14        =    1.99     0.60   0.16    =    1.52     0.50   0.14    =    0.05     0.19    0.31   UJ    1.23     0.21    0.35    =   0.02
SVP203727     SVP205283    872302.7   1085273.8    497.3        8/8/2018   4.5      5.0       -0.79     0.16   0.15   UJ    0.47     0.55   0.94   UJ    1.28     0.32   0.06       =      0.88      0.11   0.05      =      1.69     0.52    0.16        =    1.41     0.47   0.16    =    1.06     0.39   0.11    =    0.12     0.18    0.31   UJ    1.09     0.20    0.33    =   0.01
SVP205296     SVP205296    872391.5   1085289.7    480.5        9/6/2018   0.0      0.5       -1.48     0.28   0.15   UJ    0.24     0.55   0.94   UJ    1.62     0.41   0.06       =      0.85      0.10   0.06      =      1.12     0.44    0.23        =    3.22     0.88   0.17    =    1.14     0.44   0.13    =    0.05     0.18    0.31   UJ    1.13     0.19    0.33    =   0.26
SVP205296     SVP205297    872391.5   1085289.7    480.5       9/6/2018    1.5      2.0       -1.55     0.28   0.14   UJ   -0.35     0.54   0.88   UJ    1.56     0.39   0.06       =      0.84      0.10   0.06      =      0.85     0.35    0.20        =    2.84     0.74   0.15    =    0.65     0.30   0.21    =    0.05     0.17    0.29   UJ    1.00     0.18    0.32    =   0.09
SVP205296     SVP205298    872391.5   1085289.7    480.5        9/6/2018   3.5      4.0        0.26     0.07   0.13    =   -0.33     0.58   0.94   UJ    2.10     0.51   0.06       =      0.87      0.11   0.06      =      1.31     0.46    0.21        =   19.80     3.76   0.15    =    1.06     0.40   0.13    =   -0.08     0.19    0.31   UJ    0.99     0.17    0.36    =   1.26
SVP205296     SVP205299    872391.5   1085289.7    480.5        9/6/2018   4.0      4.5        0.47     0.07   0.13    =    0.26     0.64   1.07   UJ    2.90     0.70   0.07       =      0.98      0.12   0.06      =      0.78     0.33    0.21        =   29.00     5.19   0.16    =    1.19     0.42   0.15    =    0.07     0.21    0.34   UJ    0.97     0.18    0.38    =   1.93
SVP205296     SVP205300    872391.5   1085289.7    480.5        9/6/2018   4.5      5.0        0.08     0.04   0.11   UJ    0.02     0.53   0.90   UJ    1.92     0.47   0.06       =      0.86      0.11   0.06      =      0.93     0.38    0.23        =    6.75     1.52   0.22    =    1.13     0.43   0.27    =    0.06     0.18    0.30   UJ    1.38     0.22    0.34    =   0.38
SVP205306     SVP205306    872359.9   1085242.4    475.7      9/17/2018    0.0      0.5        0.28     0.06   0.13    =    0.16     0.62   1.04   UJ    2.48     0.61   0.07       =      0.91      0.11   0.06      =      1.17     0.44    0.18        =   22.60     4.39   0.15    =    1.12     0.42   0.12    =    0.01     0.20    0.33   UJ    1.00     0.18    0.35    =   1.81
SVP205306     SVP205307    872359.9   1085242.4    475.7       9/17/2018   1.5      2.0       -0.58     0.13   0.14   UJ   -0.49     0.55   0.88   UJ    1.85     0.46   0.06       =      0.89      0.11   0.06      =      1.23     0.45    0.21        =    4.48     1.10   0.18    =    0.94     0.38   0.15    =    0.10     0.18    0.31   UJ    0.99     0.17    0.34    =   0.22
SVP205306     SVP205308    872359.9   1085242.4    475.7      9/17/2018    2.0      2.5       -1.11     0.21   0.12   UJ    0.05     0.47   0.80   UJ    1.11     0.28   0.06       =      0.88      0.10   0.06      =      0.97     0.41    0.21        =    1.76     0.59   0.22    =    0.74     0.35   0.16    =    0.04     0.16    0.26   UJ    1.10     0.19    0.30    =   0.00
SVP205322     SVP205322    872251.1   1085171.7    476.8      9/18/2018    0.0      0.5       -0.79     0.17   0.19   UJ   -0.71     0.66   1.04   UJ    1.56     0.40   0.07       =      0.88      0.11   0.07      =      1.48     0.50    0.20        =    2.42     0.69   0.15    =    0.96     0.38   0.13    =   -0.03     0.22    0.37   UJ    1.31     0.27    0.46    =   0.19
SVP207127     SVP207127    872022.4   1085071.8    497.8       6/11/2019   0.0      0.5       -0.91     0.18   0.18   UJ   -0.23     0.56   0.93   UJ    1.25     0.31   0.06       =      0.77      0.10   0.06      =      1.18     0.51    0.19        =    2.67     0.87   0.19    =    0.97     0.45   0.19    =    0.16     0.19    0.32   UJ    1.09     0.19    0.34    =   0.14
SVP207127    SVP207127-1   872022.4   1085071.8    497.8      6/11/2019    0.0      0.5       -0.69     0.14   0.17   UJ   -0.17     0.53   0.88   UJ    1.23     0.31   0.05       =      0.80      0.10   0.05      =      0.79     0.37    0.17        =    1.52     0.55   0.14    =    0.79     0.37   0.16    =   -0.01     0.18    0.30   UJ    1.15     0.20    0.34    =   0.06
SVP207127    SVP207127-2   872022.4   1085071.8    497.8      6/11/2019    0.0      0.5        0.14     0.58   1.10   UJ    0.00     1.39   7.53   UJ    1.06     0.27   0.19       J      1.09      0.31   0.42      J      0.74     0.18    0.12        =    0.90     0.21   0.12    J    0.75     0.17   0.06    =   -0.31     0.47    0.95   UJ    0.87     0.81    1.42   UJ   0.02
SVP207127     SVP207128    872022.4   1085071.8    497.8      6/11/2019    1.0      1.5       -0.50     0.12   0.17   UJ   -0.01     0.53   0.90   UJ    1.27     0.32   0.05       =      0.82      0.10   0.05      =      1.12     0.46    0.14        =    1.76     0.62   0.20    =    0.43     0.27   0.14    J    0.17     0.19    0.32   UJ    1.05     0.18    0.34    =   0.01
SVP207127     SVP211141    872022.4   1085071.8    497.8      6/11/2019    2.0      2.5       -0.66     0.13   0.17   UJ    0.19     0.54   0.91   UJ    1.26     0.31   0.05       =      0.74      0.10   0.05      =      1.24     0.49    0.19        =    1.91     0.65   0.14    =    1.10     0.45   0.16    =    0.08     0.18    0.31   UJ    1.19     0.21    0.32    =   0.01
SVP207129     SVP207129    872029.1   1085057.4    488.1      6/11/2019    0.0      0.5       -0.57     0.13   0.17   UJ    0.13     0.53   0.91   UJ    1.26     0.31   0.05       =      0.81      0.10   0.05      =      1.24     0.51    0.16        =    2.12     0.73   0.16    =    0.88     0.42   0.16    =    0.03     0.19    0.31   UJ    1.25     0.21    0.32    =   0.11
SVP207129     SVP207130    872029.1   1085057.4    488.1       6/11/2019   1.5      2.0       -0.41     0.10   0.19   UJ    0.34     0.58   1.01   UJ    1.36     0.34   0.06       =      0.93      0.12   0.06      =      1.52     0.57    0.17        =    1.85     0.64   0.16    =    1.12     0.47   0.19    =    0.12     0.20    0.34   UJ    1.27     0.22    0.37    =   0.02
SVP207129     SVP211142    872029.1   1085057.4    488.1      6/11/2019    2.0      2.5       -0.81     0.16   0.20   UJ    0.56     0.60   1.04   UJ    1.79     0.44   0.06       =      1.03      0.12   0.06      =      1.33     0.53    0.19        =    1.54     0.59   0.29    =    1.26     0.52   0.29    =    0.05     0.21    0.35   UJ    0.86     0.17    0.34    =   0.04
SVP207131     SVP207131    872026.3   1085063.5    493.7      6/11/2019    0.0      0.5       -0.64     0.13   0.18   UJ   -0.54     0.53   0.84   UJ    1.21     0.31   0.05       =      0.77      0.09   0.05      =      1.33     0.54    0.18        =    1.99     0.70   0.30    =    0.93     0.44   0.30    =    0.00     0.18    0.31   UJ    1.04     0.18    0.33    =   0.09
SVP207131     SVP207132    872026.3   1085063.5    493.7       6/11/2019   1.5      2.0       -0.57     0.13   0.19   UJ   -0.41     0.57   0.92   UJ    1.25     0.32   0.06       =      0.84      0.10   0.06      =      2.22     0.82    0.24        =    2.33     0.85   0.19    =    0.79     0.44   0.36    J    0.22     0.20    0.33   UJ    1.22     0.21    0.35    =   0.04
SVP208705     SVP208705    872368.7   1085253.3    475.7      6/12/2019    0.0      0.5       -0.95     0.18   0.18   UJ    0.10     0.53   0.90   UJ    1.49     0.37   0.06       =      0.82      0.10   0.05      =      1.11     0.42    0.20        =    7.38     1.60   0.19    J    1.07     0.41   0.12    =    0.00     0.19    0.32   UJ    1.30     0.22    0.34    =   0.53
SVP208705    SVP208705-1   872368.7   1085253.3    475.7      6/12/2019    0.0      0.5       -0.38     0.09   0.18   UJ    0.03     0.54   0.91   UJ    1.46     0.36   0.06       =      0.77      0.09   0.06      =      1.29     0.49    0.23        =    3.07     0.88   0.20    =    0.94     0.41   0.20    =   -0.04     0.19    0.32   UJ    1.05     0.19    0.35    =   0.21
SVP208705     SVP208706    872368.7   1085253.3    475.7       6/12/2019   0.5      1.0       -0.33     0.09   0.17   UJ   -0.39     0.56   0.91   UJ    1.37     0.35   0.05       =      0.81      0.11   0.06      =      0.99     0.39    0.15        =    2.55     0.72   0.18    =    1.30     0.47   0.17    =    0.00     0.19    0.31   UJ    1.01     0.19    0.34    =   0.06
SVP208705     SVP208707    872368.7   1085253.3    475.7      6/12/2019    1.0      1.5        0.10     0.04   0.11    U   -0.16     0.55   0.91   UJ    1.49     0.36   0.06       =      0.78      0.10   0.05      =      1.53     0.58    0.26        =    3.38     0.98   0.20    =    1.28     0.52   0.29    =    0.06     0.19    0.32   UJ    1.17     0.20    0.33    =   0.13
SVP208708     SVP208708    872351.8   1085242.8    475.6      6/12/2019    0.0      0.5       -1.22     0.22   0.18   UJ   -0.41     0.53   0.85   UJ    1.35     0.34   0.05       =      0.83      0.10   0.05      =      1.50     0.51    0.21        =    1.36     0.47   0.17    J    0.82     0.35   0.15    =   -0.04     0.18    0.30   UJ    1.17     0.20    0.33    =   0.08
SVP208708     SVP208709    872351.8   1085242.8    475.6       6/12/2019   0.5      1.0       -0.33     0.08   0.16   UJ   -0.19     0.52   0.86   UJ    1.21     0.31   0.05       =      0.73      0.09   0.05      =      0.92     0.38    0.20        =    1.25     0.46   0.23    J    1.15     0.43   0.14    =    0.17     0.18    0.31   UJ    0.94     0.18    0.32    =   0.00




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                                                                                                                                                                                                                                                    Case: 4:20-cv-01227-JAR Doc. #: 111-1 Filed: 08/01/22 Page: 3 of 3 PageID #: 3896

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                                                                                                                                                                 Ac_227G                                              Pa_231G                      Ra_226G                            Ra_228G                          Th_228G                           Th_230G                      Th_232G                       U_235G                        U_238G
 Station_ID          Sample_ID             Easting        Northing         Elevation           Date    Start_DepthEnd_Depth                                                                                                                                                                                                                                                                                                                                        SORN
                                                                                                                                          Result           Error           MDC              VQ            Result   Error   MDC    VQ   Result   Error   MDC       VQ     Result    Error   MDC      VQ     Result   Error    MDC        VQ   Result   Error   MDC    VQ   Result   Error   MDC    VQ   Result   Error    MDC    VQ   Result   Error    MDC    VQ
 SVP208708 SVP208710 872351.8 1085242.8                                      475.6         6/12/2019         1.0             1.5          -0.51             0.11           0.17             UJ             0.11     0.51   0.86   UJ    1.23     0.30   0.05       =      0.80      0.10   0.05      =      1.63     0.55    0.22        =    1.38     0.50   0.19    J    1.22     0.46   0.16    =    0.07     0.18    0.30   UJ    0.99     0.19    0.32    =   0.01
 SVP208711 SVP208711 872359.2 1085246.4                                      477.6         6/11/2019         0.0             0.5          -0.97             0.19           0.20             UJ            -0.35     0.60   0.98   UJ    1.71     0.42   0.06       =      0.94      0.11   0.06      =      1.52     0.57    0.18        =    7.53     1.82   0.18    =    1.26     0.50   0.17    =   -0.06     0.20    0.33   UJ    1.47     0.24    0.35    =   0.59
 SVP208711 SVP208712 872359.2 1085246.4                                      477.6         6/11/2019         0.5             1.0          -0.68             0.14           0.18             UJ             0.14     0.55   0.93   UJ    1.55     0.39   0.06       =      0.87      0.10   0.06      =      1.56     0.60    0.18        =    6.91     1.76   0.30    =    0.91     0.43   0.16    =    0.00     0.19    0.32   UJ    1.23     0.21    0.34    =   0.37
 SVP208711 SVP208713 872359.2 1085246.4                                      477.6         6/11/2019         1.0             1.5          -0.48             0.11           0.18             UJ             0.40     0.55   0.95   UJ    1.55     0.39   0.06       =      0.87      0.10   0.06      =      1.84     0.62    0.18        =    4.43     1.16   0.23    =    1.07     0.45   0.26    =   -0.01     0.19    0.32   UJ    1.14     0.21    0.34    =   0.20
 SVP208711 SVP208714 872359.2 1085246.4                                      477.6         6/11/2019         1.5             2.0          -0.72             0.15           0.19             UJ             0.50     0.60   1.03   UJ    2.09     0.51   0.06       =      0.92      0.11   0.06      =      1.31     0.51    0.16        =    4.20     1.13   0.18    =    1.02     0.43   0.16    =    0.00     0.20    0.33   UJ    1.33     0.23    0.35    =   0.22
 SVP208715 SVP208715 872394.5 1085291.5                                      480.2         6/11/2019         0.0             0.5          -1.90             0.35           0.14             UJ            -0.25     0.56   0.92   UJ    1.45     0.36   0.06       =      0.87      0.11   0.06      =      1.04     0.41    0.23        =    3.06     0.83   0.20    =    0.75     0.34   0.14    =    0.12     0.18    0.31   UJ    0.95     0.17    0.32    =   0.21
 SVP208715 SVP208716 872394.5 1085291.5                                      480.2         6/11/2019         1.0             1.5          -1.05             0.20           0.14             UJ             0.02     0.51   0.86   UJ    1.41     0.35   0.06       =      0.81      0.10   0.06      =      1.22     0.48    0.23        =    3.81     1.03   0.22    =    1.20     0.47   0.14    =    0.20     0.18    0.30   UJ    0.85     0.16    0.31    =   0.15
 SVP208715 SVP208717 872394.5 1085291.5                                      480.2         6/11/2019         2.5             3.0           0.11             0.05           0.12             UJ            -0.46     0.56   0.90   UJ    1.63     0.41   0.06       =      0.91      0.11   0.06      =      1.67     0.57    0.22        =    7.44     1.71   0.19    =    0.73     0.35   0.19    =    0.14     0.18    0.31   UJ    1.11     0.19    0.33    =   0.41
 SVP208715 SVP208718 872394.5 1085291.5                                      480.2         6/11/2019         3.0             3.5           0.39             0.08           0.14              =            -0.15     0.68   1.12   UJ    2.50     0.61   0.07       =      0.98      0.13   0.07      =      1.76     0.70    0.19        =   31.80     7.31   0.24    =    1.22     0.56   0.22    =    0.08     0.22    0.37   UJ    0.95     0.18    0.40    =   2.09
 SVP208715 SVP208719 872394.5 1085291.5                                      480.2         6/11/2019         3.5             4.0           0.30             0.06           0.12              =             0.39     0.57   0.96   UJ    2.09     0.51   0.06       =      0.88      0.11   0.06      =      1.53     0.55    0.23        =   28.10     5.72   0.18    =    1.49     0.54   0.25    =   -0.09     0.18    0.29   UJ    1.26     0.20    0.32    =   1.81
 SVP208715 SVP208720 872394.5 1085291.5                                      480.2         6/11/2019         4.0             4.5           0.35             0.07           0.12              =            -0.11     0.57   0.95   UJ    2.22     0.54   0.06       =      0.86      0.10   0.06      =      1.47     0.50    0.21        =   21.20     4.13   0.17    =    0.97     0.39   0.15    =    0.03     0.19    0.31   UJ    0.90     0.17    0.33    =   1.36
 SVP208721 SVP208721 872388.5 1085291.7                                      481.4         6/12/2019         0.0             0.5          -0.51             0.11           0.18             UJ             0.02     0.56   0.93   UJ    1.49     0.37   0.06       =      0.83      0.10   0.05      =      1.38     0.53    0.19        =    3.66     1.02   0.20    =    0.78     0.38   0.15    =    0.09     0.18    0.30   UJ    1.16     0.20    0.35    =   0.26
 SVP208721 SVP208721-1 872388.5 1085291.7                                    481.4         6/12/2019         0.0             0.5          -0.47             0.11           0.17             UJ            -0.19     0.56   0.92   UJ    1.40     0.35   0.05       =      0.81      0.11   0.06      =      1.28     0.48    0.22        =    3.09     0.87   0.22    =    0.91     0.39   0.17    =    0.01     0.19    0.31   UJ    1.01     0.19    0.33    =   0.20
 SVP208721 SVP208722 872388.5 1085291.7                                      481.4         6/12/2019         1.0             1.5          -1.67             0.28           0.19             UJ            -0.62     0.60   0.95   UJ    1.72     0.43   0.06       =      0.89      0.12   0.05      =      1.56     0.53    0.16        =    7.42     1.66   0.18    =    1.11     0.43   0.24    =    0.05     0.20    0.33   UJ    1.19     0.24    0.32    =   0.41
 SVP208721 SVP208723 872388.5 1085291.7                                      481.4         6/12/2019         2.5             3.0           0.27             0.07           0.13              =             0.08     0.55   0.92   UJ    2.06     0.50   0.06       =      0.90      0.12   0.06      =      1.31     0.59    0.24        =   20.60     5.02   0.20    =    1.47     0.64   0.22    =    0.11     0.19    0.31   UJ    0.96     0.17    0.33    =   1.31
 SVP208721 SVP208724 872388.5 1085291.7                                      481.4         6/12/2019         3.5             4.0           0.17             0.05           0.12              =            -0.56     0.55   0.88   UJ    1.96     0.48   0.06       =      0.85      0.10   0.06      =      1.22     0.48    0.26        =   13.80     2.95   0.19    =    0.84     0.38   0.14    =   -0.06     0.18    0.30   UJ    1.21     0.20    0.33    =   0.85
 SVP208721 SVP208725 872388.5 1085291.7                                      481.4         6/12/2019         4.0             4.5           0.15             0.04           0.11              =            -0.27     0.52   0.85   UJ    1.75     0.43   0.06       =      0.85      0.10   0.06      =      1.50     0.50    0.12        =    9.10     1.91   0.12    =    1.08     0.41   0.12    =    0.15     0.17    0.29   UJ    1.07     0.18    0.31    =   0.52
 SVP208721 SVP208726 872388.5 1085291.7                                      481.4         6/12/2019         4.5             5.0          -1.33             0.24           0.13             UJ            -0.30     0.49   0.80   UJ    1.42     0.35   0.05       =      0.83      0.11   0.05      =      0.59     0.31    0.17        J    5.04     1.27   0.16    =    1.30     0.49   0.18    =    0.08     0.16    0.27   UJ    1.24     0.20    0.30    =   0.23
 SVP208721 SVP208727 872388.5 1085291.7                                      481.4         6/12/2019         5.0             5.5           0.12             0.04           0.10              =            -0.06     0.49   0.83   UJ    1.36     0.34   0.05       =      0.86      0.10   0.05      =      1.48     0.52    0.15        =    4.32     1.09   0.24    =    0.79     0.36   0.24    =    0.14     0.16    0.28   UJ    1.13     0.18    0.29    =   0.18
 SVP208721 SVP208728 872388.5 1085291.7                                      481.4         6/12/2019         5.5             6.0          -1.31             0.24           0.12              U             0.02     0.46   0.78   UJ    1.18     0.30   0.05       =      0.82      0.11   0.05      =      1.18     0.46    0.16        =    2.08     0.66   0.13    J    0.95     0.41   0.25    =    0.07     0.16    0.26   UJ    1.01     0.17    0.28    =   0.02
 SVP208729 SVP208729 872384.0 1085285.6                                      480.7         6/11/2019         0.0             0.5          -0.89             0.18           0.14             UJ             0.33     0.51   0.89   UJ    1.43     0.36   0.06       =      0.84      0.11   0.06      =      1.26     0.45    0.19        =    3.25     0.86   0.22    =    0.69     0.32   0.13    =    0.10     0.17    0.29   UJ    1.10     0.19    0.31    =   0.22
 SVP208729 SVP208730 872384.0 1085285.6                                      480.7         6/11/2019         0.5             1.0          -0.94             0.20           0.14             UJ            -0.27     0.56   0.91   UJ    1.48     0.37   0.06       =      0.85      0.10   0.06      =      1.62     0.52    0.19        =    2.84     0.76   0.16    =    0.71     0.32   0.14    =    0.28     0.19    0.32   UJ    1.06     0.19    0.33    =   0.09
 SVP208729 SVP208731 872384.0 1085285.6                                      480.7         6/11/2019         2.0             2.5           0.56             0.07           0.14              =             0.13     0.68   1.14   UJ    3.01     0.73   0.07       =      0.90      0.11   0.07      =      1.22     0.46    0.17        =   34.30     6.61   0.18    =    1.20     0.45   0.13    =    0.10     0.21    0.35   UJ    1.35     0.23    0.38    =   2.29
 SVP208729 SVP208732 872384.0 1085285.6                                      480.7         6/11/2019         3.5             4.0          -1.35             0.25           0.14             UJ             0.02     0.56   0.93   UJ    1.57     0.39   0.06       =      0.87      0.12   0.06      =      1.85     0.62    0.20        =    4.79     1.23   0.23    =    1.32     0.50   0.18    =    0.12     0.18    0.30   UJ    1.30     0.21    0.31    =   0.23
 SVP208729 SVP208733 872384.0 1085285.6                                      480.7         6/11/2019         4.0             4.5           0.06             0.04           0.11             UJ            -0.02     0.50   0.84   UJ    1.37     0.34   0.05       =      0.87      0.11   0.06      =      1.20     0.44    0.15        =    3.98     0.99   0.17    =    0.71     0.33   0.23    =   -0.02     0.17    0.28   UJ    0.96     0.17    0.31    =   0.16
 SVP208729 SVP208734 872384.0 1085285.6                                      480.7         6/11/2019         4.5             5.0          -1.35             0.25           0.13             UJ             0.32     0.48   0.83   UJ    1.26     0.32   0.05       =      0.85      0.10   0.05      =      1.34     0.49    0.26        =    3.09     0.86   0.15    =    1.21     0.46   0.13    =   -0.02     0.16    0.27   UJ    0.89     0.16    0.28    =   0.09
 SVP208729 SVP212850 872384.0 1085285.6                                      480.7         6/11/2019         3.0             3.5           0.12             0.19           0.34             UJ            -0.29     0.67   1.10   UJ    1.77     0.45   0.07       =      0.93      0.13   0.07      =      1.47     0.55    0.21        =   11.40     2.54   0.20    =    1.74     0.60   0.17    =    0.03     0.21    0.36   UJ    1.32     0.21    0.35    =   0.68
Notes:
Results, error, and MDC are in units of pCi/g. Start, and end depths are in units of ft bgs.
Negative results are less than the laboratory system’s background level.
Bold value indicates a soil sample with an SORN exceeding 1.0. Non-bold value indicates a soil sample with an SORN not exceeding 1.0.
Soil samples ending in "-1" are duplicate soil samples.
Soil samples ending in "-2" are split soil samples.
Validation qualifier (VQ) symbols indicate: “=” for positive results, “U” for not detected above this value, “J” for estimated quantity, “UJ” for not detected above estimated value, and “R” for unusable.




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